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FILED IN OPEN COURT

JACKSONVILLE, FLORIDA
United States District Court | 2
Middle District of Florida U flu 2

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Jacksonville Division U.S. DISTRICT COURT

MIDDLE DIS
UNITED STATES OF AMERICA TRICT OF FLORIDA

V. No. 3:20-cr-122-BJD-PDB

BILLY JOE MINSHALL

 

Notice Regarding Entry of Guilty Plea

In the event the defendant decides at any time before trial to enter a plea of
guilty, Local Rule 1.02 (a) authorizes the United States Magistrate Judge, with the
defendant’s consent, to conduct the proceedings required by Fed. R. Crim. P. 11,
incident to the making of the plea. If, after conducting the proceedings, the
Magistrate Judge recommends that the District Judge accept the guilty plea, a
presentence investigation and report will be ordered as required by Fed. R. Crim. P.
32. The District Judge will then act on the Magistrate Judge's recommendation,
and, if the District Judge accepts the guilty plea, will adjudicate guilt and schedule
a sentencing hearing, at which the District Judge will decide whether to accept or

reject any plea agreement and determine and impose sentence.

Consent

I declare my intention to enter a guilty plea in this case, and I request and consent to
the United States Magistrate Judge conducting the proceedings required by Fed. R. Crim. P.
I1, incident to the making of the plea. I understand that if the District Judge accepis my
guilty plea, the District Judge will decide whether to accept any plea agreement that I may
have with the United States and will adjudicate guilt and determine and impose sentence.

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DEFENDANT - Date DEFENDANTS ATTORNEY Date
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